                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                          CASE NO.: 3:21-CV-00517

CYNTHIA PUSEY VIGDOR; ROBERT VIGDOR;                        )
VANESSA KROMBEEN; VASHISTA KOKKIRALA;                       )
JESSICA HUCK; RICHARD SMITHSON; RONALD                      )
EASTER; and PROVIDENCE ANESTHESIOLOGY                       )
ASSOCIATES, P.A., on behalf of themselves and other         )
similarly situated persons,                                 )
                                                            )
                       Plaintiffs,                          )
                                                            )
       v.                                                   )
                                                            )
UNITEDHEALTHCARE INSURANCE COMPANY;                         )
UNITEDHEALTHCARE OF NORTH CAROLINA,                         )
INC.; UMR, INC., UNITEDHEALTH GROUP                         )
INCORPORATED,                                               )
                                                            )
                       Defendants.                          )

      PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR REMAND

       Plaintiffs submit this Memorandum of Law in support of their motion to remand under

W.D.N.C. Local Rule 7.1(c).

       This case must be remanded because the Complaint does not assert any claims arising

under Federal law—only North Carolina state law claims based on North Carolina statutes.

Plaintiffs’ claims are “rate of payment” claims which are not preempted by ERISA. In fact,

UHC recently lost a motion to remand on this same exact issue in the Eastern District of

Pennsylvania in a lawsuit brought by an out-of-network physician group against UHC. As in

that case, this matter should be remanded to state court.




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                    NATURE OF THE MATTER BEFORE THE COURT

       Under the allegations in the Complaint, this Court lacks subject matter jurisdiction over

this case. Plaintiffs’ claims all arise entirely under North Carolina law and can be fully and

finally determined without any consideration of a federal law.

                                   QUESTION PRESENTED

       Does this Court lacks subject matter jurisdiction because the Plaintiffs’ claims are

entirely based on North Carolina state laws relating to the “rate of payment” owed by an

insurance company for medical services?

                                   PROCEDURAL HISTORY

       On August 16, 2021, Plaintiffs filed this action in Mecklenburg County Superior Court

for violation of the North Carolina Patient Protection Act, N.C. Gen. Stat. § 58-3-200(d), and

North Carolina Unfair or Deceptive Trade Practices Act, N.C. Gen. Stat. § 75-1.1. Accepting

service on September 1, 2021, the Defendants removed on September 29 to this Court, citing 28

U.S.C. § 1331, 1441, and 1446. (Doc. 1). As their basis for removal, Defendants assert that

Plaintiffs’ claims “arise under and are completely preempted by the Employee Retirement

Income Security Act of 1974, as amended, 29 U.S.C. §§ 1001, et seq. (“ERISA”).” (Doc. 1, at

1).

       On October 20, 2021, the Defendants filed a Motion to Dismiss, primarily based on

ERISA preemption. Plaintiffs will oppose the motion.

       Plaintiffs now also ask the Court to remand this case to North Carolina state court

because this Court lacks subject matter jurisdiction over this case and the exclusively North

Carolina state law claims raised by Plaintiffs.




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                                  STATEMENT OF FACTS

        The Patient Plaintiffs and proposed class representatives in this case are residents of

North Carolina who received medical care from Providence Anesthesiology Associates, P.A.

(“Providence”), a leading anesthesia provider in North Carolina. (Compl.1 ¶¶ 1-6, 22, 23-73.)

Providence was a longtime member of UHC’s provider network through March 2020. (Id. ¶¶ 7,

17, 22.)

        In September 2019, UHC started negotiating with Providence for lower contract rates –

but demanded that Providence accept a 60% rate cut to stay in-network, which they knew was

unreasonable and would be impossible for any competent medical provider to accept. UHC’s

actions are part of a scheme to exploit new legislation against surprise billing practices at the

Federal level. (Id. ¶¶ 86-87.) UHC never made a fair or good faith offer to Providence, despite

the fact that UHC never identified any issues with Providence’s anesthesia services, certificates,

licensure, or otherwise identified any problem that would justify terminating its contract with

Providence. (Id. ¶¶ 89-90.)

        UHC terminated Providence, knowing Providence’s out-of-network status would harm

patients. UHC planned to make their own insureds responsible for unplanned medical bills in the

thousands of dollars that UHC knew would result from its exploitative negotiation tactics. (Id.

¶¶ 92, 94, 95.) Since March 1, 2020, UHC has refused to reimburse Providence, Patient

Plaintiffs, and other class members for medical care provided to patients at a reasonable rate.

(Id. ¶ 97.)




1
 The Complaint is filed as Exhibit A to Defendants’ Removal Papers at Docket Entry 1, and can
be found at Doc. 1 at 10-36.


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       The Patient Plaintiffs have suffered due to UHC’s actions. They have had surgical

procedures at in-network facilities in North Carolina, but Providence’s anesthesia care has been

out-of-network, leading to them receiving large unexpected bills for out-of-network care.

       For example, Plaintiff Cynthia Vigdor had spinal surgery in July 2020. (Id. ¶ 23.) She

had heard that Providence was out-of-network before her procedure and called UHC to find out

what to do. UHC told her that Providence’s out-of-network status would be “no problem” for

her. But after her surgery, UHC only paid $189.30 of her bill for anesthesia services. She has

been left with a bill for $4,510.70 which UHC has failed to resolve. (Id. ¶¶ 25, 27—28.)

       Each of the Patient Plaintiffs have stories similar to Ms. Vigdor, as set forth in the

Complaint. UHC has paid a portion of the bill, and has not disputed that they have a right to

payment. What UHC has done, however, is pay very little on these claims, and forced their

insureds to bear the brunt of Providence’s out-of-network status—a status UHC unilaterally

caused. The Patient Plaintiffs have taken many steps to try to resolve their claims by filing

appeals with UHC and the North Carolina Department of Insurance (“NC DOI”), to no avail.

       Perhaps UHC’s tactics are legal in other states. Perhaps they are legal in cases where

Federal law exclusively applies. But they are not legal under North Carolina law. UHC’s refusal

to reimburse Providence’s patients at a reasonable rate is in violation of N.C. Gen. Stat. § 58-3-

200(d), the Patient Protection Act, which prohibits insurers from “penaliz[ing] an insured or

subject[ing] an insured to the out-of-network benefit levels offered under the insured’s approved

health benefit plan . . . unless contracting health care providers able to meet health needs of the

insured are reasonable available to the insured without unreasonable delay.” N.C. Gen. Stat. §

58-3-200(d); (Compl. ¶¶ 120—21).




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       Providence helped bring this pattern of out-of-network underpayments by UHC to the

attention of the NC DOI, and assisted UHC members in appealing their bills to UHC. (Id.

¶¶ 110—12.) When patients have fully-insured plans (as opposed to plans self-insured by

employers), the NC DOI has been investigating those claims when complaints are made.

       The Patient Plaintiffs have now brought this case to stop UHC from penalizing its

insureds in violation of the Patient Protection Act. Providence has joined the patients as a

Plaintiff. UHC’s refusal to reimburse its insureds at a reasonable rate for services received from

Providence after UHC unilaterally terminated Providence from its network is a direct violation of

the Patient Protection Act. UHC’s scheme is also an unfair or deceptive trade practice, and

actionable under N.C. Gen. Stat. § 75-1.1, et seq.

                                     LEGAL STANDARD

I.     REMOVAL OF STATE CIVIL ACTIONS TO FEDERAL DISTRICT COURT

       A defendant may remove a state civil action to federal district court where the action is

one “of which the district courts of the United States have original jurisdiction.” 28 U.S.C.

§ 1441(a). This, of course, includes civil cases “arising under the Constitution, laws, or treaties

of the United States.” 28 U.S.C. § 1331. However, “[i]f at any time before final judgment it

appears that the district court lacks subject matter jurisdiction, the case shall be remanded.” 28

U.S.C. § 1447(c). See also, Charlotte-Mecklenburg Hosp. Auth. v. Kinsinger, No. 3:18-CV-38-

FDW-DCK, 2018 WL 3069178, at *1 (W.D.N.C. June 21, 2018).

       “Removal of civil cases to federal court is an infringement on state sovereignty,” Mason

v. Int’l Bus. Machs., Inc., 543 F. Supp. 444, 445 (M.D.N.C. 1982), and therefore the Court must

“construe [removal jurisdiction] strictly in light of the federalism concerns inherent in that form

of federal jurisdiction.” In re Blackwater Sec. Consulting, LLC, 460 F.3d 576, 583 (4th Cir.

2006). The burden is on the party seeking removal to demonstrate that federal jurisdiction is


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proper. Mulcahey v. Columbia Organic Chems. Co., 29 F.3d 148, 151 (4th Cir. 1994). Failure

to meet this burden “generally constitutes an adequate ground for remand to state court,” Mason,

543 F. Supp. at 445, and remand is necessary if federal jurisdiction is doubtful, Mulcahey, 29

F.3d at 151. “This is because [a] plaintiff’s right to select the forum for [its] claim is stronger

than defendants’ right to remove.” Willard v. UPS, 413 F. Supp. 2d 593, 597 (M.D.N.C. 2005).

II.     THE WELL-PLEADED COMPLAINT RULE AND ERISA PREEMPTION

        “To determine whether a plaintiff’s claims ‘arise under’ the laws of the United States,

courts typically use the ‘well-pleaded complaint rule,’ which focuses on the allegations of the

complaint.” Prince v. Sears Holdings Corp., 848 F.3d 173, 177 (4th Cir. 2017) (quoting Aetna

Health Inc. v. Davila, 542 U.S. 200, 207 (2004)). An exception to the well-pleaded complaint

rule occurs when a federal statute completely preempts state law causes of action. Aetna, 542

U.S. at 207–08. “[C]omplete preemption ‘converts an ordinary state common law complaint into

one stating a federal claim.” Darcangelo v. Verizon Commc’ns, Inc., 292 F.3d 181, 187 (4th Cir.

2002) (quoting Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 65, 107 S.Ct. 1542, 95 L.Ed.2d 55

(1987) (internal quotation marks omitted)).

        ERISA was enacted to “supersede any and all State laws insofar as they may now or

hereafter relate to any employee benefit plan” as described in the statutory scheme. 29 U.S.C.

§ 1144(a). ERISA’s civil enforcement provision (§ 502(a), codified at 29 U.S.C. § 1132(a)),

allows a participant or beneficiary of an ERISA plan to bring a civil action “to recover benefits

due to [the participant or beneficiary] under the terms of [their] plan, to enforce [their] rights

under the terms of the plan, or to clarify [their] rights to future benefits under the terms of the

plan . . .” 29 U.S.C. § 1132(a)(1)(B).

        Courts use a three-part test to determine whether complete preemption exists under

ERISA:


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               (1) the plaintiff must have standing under § 502(a) to pursue its
               claim; (2) its claim must “fall[ ] within the scope of an ERISA
               provision that [it] can enforce via § 502(a)”; and (3) the claim must
               not be capable of resolution “without an interpretation of the
               contract governed by federal law,” i.e., an ERISA-governed
               employee benefit plan.

Prince v. Sears Holdings Corp., 848 F.3d 173, 177 (4th Cir. 2017) (quoting Sonoco Products Co.

v. Physicians Health Plan, Inc., 338 F.3d 366, 372 (4th Cir. 2003)) (alterations in original).

       ERISA preemption is broad but not universal. New York State Conference of Blue Cross

& Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 655, 131 L. Ed. 2d 695 (1995) (“If

‘relate to’ were taken to extend to the furthest stretch of its indeterminacy, then for all practical

purposes pre-emption would never run its course, for ‘[r]eally, universally, relations stop

nowhere,’ H. James, Roderick Hudson xli (New York ed., World’s Classics 1980).”). Thus, as

the U.S. Supreme Court has held, many “lawsuits against ERISA plans for run-of-the-mill state-

law . . . torts committed by [the] ERISA plan” are not preempted, even though these suits

“obviously affect[ ] and involv[e] ERISA plans and their trustees.” Mackey v. Lanier Collection

Agency & Serv., Inc., 486 U.S. 825, 833, 108 S.Ct. 2182, 100 L.Ed.2d 836 (1988); see also

Darcangelo v. Verizon Commc’ns, Inc., 292 F.3d 181, 191 (4th Cir. 2002).

       ERISA Section 502 gives plan participants and beneficiaries the right to sue to force

disclosure of certain information, to recover benefits due under the plan, to clarify the right to

future benefits, or to enforce rights under ERISA or the plan. 29 U.S.C. §§ 1132(a)(1)-(4).

       In determining whether a claim falls within § 502(a), courts have distinguished between a

“rate of payment” claim and a “right of payment” claim. E.g., Brown v. Blue Cross Blue Shield

of Tenn., Inc., 827 F.3d 543, 548 (6th Cir. 2016). Rate of payment claims do not fall under

§ 502(a) and are not preempted. Id.; see also Lone Star OB/GYN Assocs. v. Aetna Health Inc.,

579 F.3d 525, 530–32 (5th Cir. 2009). This includes rate of payment claims brought by out-of-



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network providers and patients. Gulf-to-Bay Anesthesiology Assocs. V. UnitedHealthCare of

Fla., Inc., 2018 WL 3640405, at *3 (M.D. Fla. July 20, 2018) (remanding rate-of-payment

dispute between out-of-network provider and insurer)2.

          The distinction between right to payment claims and rate of payment claims has been

recognized by multiple Circuits (as cited below), because typically rate of payment claims are

governed under State law. See also 29 U.S.C. § 1144 (b)(2)(A) (“nothing in [ERISA’s

preemption sub-section] shall be construed to exempt or relieve any person from any law of any

State which regulates insurance, banking, or securities.”)

          In this case, Plaintiffs have raised claims under two North Carolina state laws which

regulate the practice of insurance: the North Carolina Patient Protection Act, N.C. Gen. Stat.

§ 58-3-200(d), and the Unfair or Deceptive Trade Practices Act, N.C. Gen. Stat. § 75-1.1, et seq.

          North Carolina’s Patient Protection Act provides that an insurer cannot subject its insured

to out-of-network benefit levels as a penalty for the insurer deciding to cut providers out of its

contracts:

                 No insurer shall penalize an insured or subject an insured to the
                 out-of-network benefit levels offered under the insured’s approved
                 health benefit plan, including an insured receiving an extended or
                 standing referral under G.S. 58-3-223, unless contracting health
                 care providers able to meet health needs of the insured are
                 reasonably available to the insured without unreasonable delay.

N.C. Gen. Stat. § 58-3-200(d).

          Under North Carolina law, a remedy for violation of the unfair claim settlement practices

statute is under N.C. Gen. Stat. § 75–1.1, the unfair or deceptive trade practices statute. Gray v.

N.C. Ins. Underwriting Ass’n, 352 N.C. 61, 71, 529 S.E.2d 676, 683 (2000) (holding “conduct

that violates subsection (f) of N.C.G.S. § 58–63–15(11) constitutes a violation of N.C.G.S. § 75–


2
    This M.D. Fla. opinion is Exhibit 1.


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1.1, as a matter of law”); Country Club of Johnston County, Inc. v. U.S. Fid. & Guar. Co., 150

N.C. App. 231, 246, 563 S.E.2d 269, 279 (2002) (“It follows that the other prohibited acts listed

in N.C. Gen. Stat. § 58–63–15(11) are also acts which are unfair, unscrupulous, and injurious to

consumers, and that such acts therefore fall within the ‘broader standards’ of N.C. Gen. Stat.

§ 75–1.1.”); Nelson v. Hartford Underwriters Ins. Co., 177 N.C. App. 595, 608 (2006).

                                         ARGUMENT

       As the party claiming federal jurisdiction, Defendants have the burden showing it has met

the requirements for removal. E.g., Mulcahey, 29 F.3d at 151. Defendants have failed to meet

that burden, because they cannot demonstrate that Plaintiffs’ claims arise under federal law.

Plaintiffs’ claims are rate of payment claims which are not preempted by ERISA.

I.     PLAINTIFFS’ CLAIMS ARE “RATE OF PAYMENT” CLAIMS AND NOT
       “RIGHT TO PAYMENT” CLAIMS, WHICH ARE NOT PREEMPTED BY
       ERISA

       Plaintiffs are not challenging their “right to payment” in this case—and indeed UHC has

made payments on these claims—but instead have brought claims based on UHC’s unfair rate of

payment. (Compl. ¶¶ 1—6, 33, 40, 47, 57, 65, 73, 97 (“After March 1, 2020, UHC has refused

to reimburse Providence, Plaintiffs, and other class members for medical care provided to

Plaintiffs at a reasonable rate.”), 108—09 (“UHC has failed to honor contractual wrap network

obligations in order to reduce its payments to Providence to below reasonable, mutually-agreed

rates”), 121, 135—37, 150—52.)

       Multiple Circuits have consistently held that “rate of payment” claims do not fall under

ERISA’s enforcement provision § 502(a) and are therefore not completely preempted by ERISA.

E.g., Blue Cross v. Anesthesia Care Assocs. Med. Group, Inc., 187 F.3d 1045, 1051 (9th

Cir.1999); Lone Star OB/GYN Assocs. v. Aetna Health Inc., 579 F.3d 525, 530–32 (5th Cir.

2009); Connecticut State Dental Ass’n v. Anthem Health Plans, Inc., 591 F.3d 1337, 1350 (11th


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Cir. 2009); Brown v. Blue Cross Blue Shield of Tenn., Inc., 827 F.3d 543, 548 (6th Cir. 2016)

(acknowledging and adopting the distinction between right to payment claims, which are

preempted by ERISA, and rate of payment claims, which are not); N. Jersey Brain & Spine Ctr.

v. United Healthcare Ins. Co., No. CV 18-15631, 2019 WL 6317390, (D.N.J. Nov. 25,

2019), report and recommendation adopted, No. 18-15631, 2019 WL 6721652 (D.N.J. Dec. 10,

2019).

         The Fourth Circuit has also noted the existence of this uniform case law, though it has not

yet had the occasion to directly apply it. Greenville Hosp. Sys. v. Employee Welfare Ben. Plan

for Employees of Hazelhurst Mgmt. Co., 628 Fed. Appx. 842, 846 (4th Cir. 2015) (citing six

circuit court decisions, all recognizing the distinction). But the Middle District of North Carolina

and other district courts in this Circuit have recognized that rate of payment claims are not

preempted by ERISA. Kearney v. Blue Cross & Blue Shield of N. Carolina, 233 F. Supp. 3d

496, 504 (M.D.N.C. 2017) (rate of payment claim would not be preempted, but claim asserted

there was a right to payment claim); McLeod Reg’l Med. Ctr. of Pee Dee, Inc. v. Trustmark Life

Ins. Co., No. CV 4:09-750-RBH, 2010 WL 11650679, at *5 (D.S.C. Nov. 4, 2010)

(acknowledging decisions from the Fifth, Ninth, and Third Circuits which hold that “rate of

payment” claims are not completely preempted by ERISA); HCA Health Servs. of Virginia, Inc.

v. CoreSource, Inc., No. 3:19-CV-406, 2020 WL 4036197, at *3 n. 2 (E.D. Va. July 17, 2020)

(“In any event, § 502 cannot completely preempt the Hospital’s claims because this case

involves a dispute over a ‘rate of payment’ and not a ‘right to payment.’”).

         In the Fifth Circuit case Lone Star OB/GYN, the plaintiff medical provider had a

Provider Agreement with defendant Aetna. The plaintiff alleged that defendant breached the

Provider Agreement by failing to pay the correct contractual rates for services rendered. Lone




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Star OB/GYN Assocs., 579 F.3d at 530–32. The Provider Agreement even referenced the

copay/coinsurance/deductible amounts set forth in an ERISA plan. Id. at 531. The Fifth Circuit

held that, because the claim implicates the rate of payment, rather than the right to payment, it is

not preempted by ERISA—even where the Provider Agreement cross-referenced an ERISA plan.

Id. In other words, where the plaintiff alleges rate of payment claims, “mere consultation of an

ERISA plan is not enough to bring the claims within the scope of § 502(a).” Id. at 530.

         Similarly, in Hansen v. Grp. Health Coop., 902 F.3d 1051, 1059-60 (9th Cir. 2018), the

Ninth Circuit held that the controlling question is the “origin of the duty, not its relationship with

health plans.” Id. The Hansen Court held that the claims in that case were not preempted

because the duty allegedly violated “ar[ose] under state law, not under the terms of an ERISA

plan.” Id. Likewise, in Pascack Valley Hosp. v. Local 464A UFCW Welfare Reimbursement

Plan, 388 F.3d 393 (3d Cir. 2004), as amended (Dec. 23, 2004), the Third Circuit held that the

claims were not completely preempted by ERISA—even though the claims at issue “derived

from an ERISA plan, and exist[ed] ‘only because’ of that plan,” because the right to recovery

depended on duties “independent of the Plan itself. Id. at 402.

         UHC is very familiar with the legal distinction between right of payment and rate of

payment claims. They lost a motion to remand earlier this year on this exact same issue, in a

lawsuit brought by a group of emergency physicians who are not in-network. In Emergency

Care Servs. of Pennsylvania, P.C. v. UnitedHealth Grp., Inc., 515 F. Supp. 3d 298 (E.D. Pa.

2021)3, the federal district court remanded to state court because the claims asserted were rate of

payment claims.




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    Copy submitted as Exhibit 2.


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       The factual scenario in that case is analogous to this action: plaintiffs, who are out-of-

network healthcare providers, alleged that UHC paid a portion of the at-issue claims, but

engaged in an unlawful course of dealing resulting in the claims being systematically paid at a

drastically reduced rate. The district court, noting the similar facts previously also asserted in N.

Jersey Brain & Spine Ctr. v. United Healthcare Ins. Co., No. CV 18-15631, 2019 WL 6317390,

(D.N.J. Nov. 25, 2019), report and recommendation adopted, No. 18-15631, 2019 WL 6721652

(D.N.J. Dec. 10, 2019), held that the plaintiffs’ rate of payment claims were not preempted by

ERISA, and remanded the claims to state court. In fact, noting that the law on this issue is so

clear, the plaintiffs even asked for an award of attorneys’ fees. The court denied the fee request,

but expressed some sympathy due to the fact that UHC’s removal was “contrary to the reasoning

and holdings of a number of cases[.]” Emergency Care Servs., 515 F. Supp. 3d at 311.

       UHC also lost on this same issue in a 2018 decision from the Middle District of Florida.

In Gulf-to-Bay Anesthesiology Associates, LLC v. UnitedHealthcare of Florida, Inc., No. 8:18-

CV-233-EAK-AAS, 2018 WL 3640405 (M.D. Fla. July 20, 2018). In Gulf-to-Bay, UHC

terminated a previously in-network anesthesiology provider. Id. at *1. Thereafter, though UHC

would reimburse for some costs, UHC “failed to reimburse . . . at the full rate [plaintiff] is

entitled to under Florida statutory and common law.” Id. The plaintiff raised claims under

Florida statutory and common law for underpayment for medically necessary anesthesiology

services. Id. The court held that as the plaintiff’s claims were “rate of payment” claims they

were not preempted by ERISA. Id. at *2.

       Here, just like in Emergency Care Servs. and Gulf-to-Bay, the dispute with UHC is not

over the right to payment, but to the rate of payment. UHC paid a portion, but not the full




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amount, of the claims. The claims are not preempted by ERISA and therefore do not create a

basis for removal.

II.     PLAINTIFFS’ CLAIMS DO NOT RELATE TO ERISA PLANS, BUT ARISE
        SOLELY OUT OF NORTH CAROLINA STATUTE AND COMMON LAW.

        Plaintiffs’ claims arise out of UHC’s violation of the Patient Protection Act, N.C. Gen.

Stat. § 58-3-200(d), as actionable under North Carolina’s Unfair or Deceptive Trade Practices

Act, N.C. Gen. Stat. § 75-1.1, et seq. (Compl. ¶¶ 134—56.) UHC has also violated its contracts

with its insureds (including Patient Plaintiffs) by refusing to reimburse Patient Plaintiffs and

other class members at a reasonable, fair rate. (Id. ¶ 150.)

        The Patient Protection Act applies specifically to North Carolinians with insurance

contracts, and the Patient Protection Act places distinct and separate duties on UHC to refrain

from penalizing its insureds for receiving necessary out-of-network care. See N.C. Gen. Stat.

§ 58-3-200(d). UHC’s violation of the Patient Protection Act also constitutes an unfair or

deceptive trade practice under N.C. Gen. Stat. § 75-1.1. Research does not find any reported

decisions in federal court based upon N.C. Gen. Stat. § 58-3-200(d) – and this makes sense

because any such claims would not be preempted by ERISA. Plaintiffs are not seeking to

enforce ERISA or bring a claim that can be brought under ERISA: Plaintiffs are seeking to

enforce the North Carolina Patient Protection Act.

        While there are certainly federal cases holding that breach of contract claims and claims

under N.C. Gen. Stat. § 75-1.1 can be preempted by ERISA, those are cases where the claims

were based on, or sought enforcement of, duties owed under an ERISA plan or fiduciary

obligations owed under ERISA. E.g., Petty v. Carolina Biological Supply, No. 1:05CV00954,

2006 WL 2571047, at *6 (M.D.N.C. Sept. 5, 2006) (holding Chapter 75 claim completely

preempted by ERISA because claim was for breach of fiduciary duties owed to the plan



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beneficiary under ERISA); Blue Moon Fiduciary, LLC v. Hutcheson, No. 1:12CV78, 2014 WL

4063428, at *8 (M.D.N.C. Aug. 14, 2014) (holding Chapter 75 claim was based on the same

allegations as its breach of fiduciary duty claim owed to the plan beneficiary under ERISA);

Nat’l Life Ins. Co. v. Kiser, No. 5:09-CV-87-FL, 2010 WL 11622624, at *3 (E.D.N.C. Mar. 18,

2010) (holding claims were completely preempted by ERISA because they related to

“management of Plan assets, the payment of Plan benefits, and the obligations of the Plan

fiduciaries to administer the Plan in accordance with the governing Plan documents and in the

interests of the Plan participants and beneficiaries”).

       In contrast, where claims alleged in a complaint arise out of a duty independent of any

duty owed under an ERISA plan, federal case law consistently holds the claims are not

preempted by ERISA.           E.g., Pascack Valley Hosp. v. Local 464A UFCW Welfare

Reimbursement Plan, 388 F.3d 393 (3d Cir. 2004), as amended (Dec. 23, 2004); Hansen v. Grp.

Health Coop., 902 F.3d 1051, 1059—60 (9th Cir. 2018); Lone Star OB/GYN Assocs. V. Aetna

Health Inc., 579 F.3d 525, 529 (5th Cir. 2009) (“The crucial question is whether [plaintiff] is in

fact seeking benefits under the terms of the plan, or rights that derive from the independent basis

of the contract.”); Franciscan Skemp Healthcare, Inc. v. Cent. States Joint Bd. Health & Welfare

Tr. Fund, 538 F.2d 594, 597-98 (7th Cir. 2008) (holding that claims for negligent

misrepresentation and estoppel derived “from duties imposed apart from ERISA and/or the plan

terms”).

       In fact, in the recent decision in Emergency Care Servs., UHC even acknowledged

precedent holding that claims that arise independently under a state law are “not preempted by




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ERISA because that statute created an independent duty under state law.”4 There, UHC was

citing New Jersey Carpenters & the Trustees Thereof v. Tishman Const. Corp. of New Jersey,

760 F.3d 297, 304 (3d Cir. 2014), where the court held that claims based on a New Jersey statute

were not preempted by ERISA because the statute created an independent duty apart from any

duty created by or enforceable under ERISA.           The court noted that the state statute’s

“independence is best understood by looking to [ ] what the plaintiffs must prove to prevail.” Id.

If a plaintiff can prove a claim without the court having to assess an ERISA plan, then the statute

creates an independent duty. The Plaintiffs’ claims here are based on a North Carolina statute

which creates an independent duty under state law. The Court does not need to assess an ERISA

plan to determine UHC’s liability under state law.

       The North Carolina legislature enacted the Patient Protection Act for a purpose: to

prevent insurers like UHC from unfairly penalizing patients who receive medical care from out-

of-network providers. It discourages UHC from doing exactly what it has done here: cutting

Providence out of network as a negotiating tactic and harming patients as a result. Plaintiffs are

not seeking an interpretation of an ERISA plan, but are seeking to enforce North Carolina state

law, and its protections related to payment rates.       Plaintiffs’ claims are not an alternate

enforcement mechanism to ERISA’s civil enforcement provision, and are therefore not

preempted. See Darcangelo v. Verizon Commc’ns, Inc., 292 F.3d 181, 194 (4th Cir. 2002)

(holding that claims “are not an attempt to enforce her rights under ERISA or the ERISA plan

and therefore are not alternative enforcement mechanisms to § 502” and not preempted).




4
 See relevant portion of the UHC brief in opposition to the motion for remand in Emergency
Care Servs. of Pennsylvania, P.C. v. UnitedHealth Grp., Inc., 515 F. Supp. 3d 298 (E.D. Pa.
2021)—page 19 n. 12—submitted as Exhibit 3.


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       Plaintiffs’ claims are based only on North Carolina law. There will be no cause to

consider ERISA in assessing Plaintiffs’ claims. And even if Defendants may want to raise some

defense under ERISA, that by itself is insufficient to confer subject matter jurisdiction over

Plaintiffs’ case. Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 63, 95 L. Ed. 2d 55 (1987) (“As

a defense, it does not appear on the face of a well-pleaded complaint, and, therefore, does not

authorize removal to federal court.”)

                                        CONCLUSION

       Under the allegations of the Complaint it is clear that the claims in this case arise under

state law only and belong in state court. Plaintiffs have alleged that Defendants knowingly and

intentionally violated North Carolina’s Patient Protection Act by refusing to pay Patient

Plaintiffs’ and other class members’ claims at a reasonable rate and thereby are penalizing them.

This also violates North Carolina’s Unfair or Deceptive Trade Practices Act. Accordingly, this

court lacks subject matter jurisdiction over this case, and the case must be remanded to

Mecklenburg County Superior Court.




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Respectfully submitted, this the 29th day of October, 2021.

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                                CERTIFICATE OF SERVICE

       I certify that on October 29, 2021, I electronically filed the foregoing MEMORANDUM

with the Clerk of Court, using the CM/ECF system which will send notification of such filing

will be sent electronically by the ECF system to Defendants’ attorneys of record as follows:

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